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                                                        Exhibit “A”
                      ValuSoft Finance_CertofReg3
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